UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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ALTAGRACIA DIAZ, on behalf of herself and
all others similarly situated,

                          Plaintiff,                         MEMORANDUM OF
                                                             DECISION AND ORDER
                 -against-                                   12-CV-3781 (ADS) (ETB)

RESIDENTIAL CREDIT SOLUTIONS, INC.,

                           Defendant.
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APPEARANCES:

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SPATT, District Judge.

        On July 31, 2012, the Plaintiff Altagracia Diaz (“the Plaintiff”), on behalf of herself and

all others similarly situated, commenced this action against the Defendant Residential Credit

Solutions, Inc. (“the Defendant” or “RCS”) for alleged unlawful credit and collection practices

engaged in by the Defendant in violation of the Fair Debt Collection Practices Act, 15 U.S.C. §
1692 et seq. (“FDCPA”). Presently before the Court is the Defendant’s motion to dismiss, to

which the Plaintiff has responded and simultaneously filed an Amended Complaint. For the

reasons set forth below, this Court denies the Defendant’s motion.

                                      I.    BACKGROUND

       The following facts are drawn from the Plaintiff’s Amended Complaint and construed in

a light most favorable to the Plaintiff.

A. Underlying Facts

       On or about May 5, 2012, the Defendant sent a validation notice to the Plaintiff seeking

to collect an alleged consumer debt. In this regard, the validation notice claimed that the

Plaintiff owed a sum to JP Morgan Mortgage Acquisition Corporation (“JP Morgan”) in

connection with a mortgage loan. The total debt was for $370,430.91.

       According to the Plaintiff, the validation notice “is a form letter (designated OL0315)

which [the] [D]efendant uses for the purpose of attempting to comply with 15 U.S.C. § 1692g.”

(Amend. Compl., ¶ 9.) In addition, the “Plaintiff did not receive any other document from [the]

[D]efendant purporting to contain the initial disclosures required by 15 U.S.C. § 1692g.”

(Amend. Compl., ¶ 10.)

       The Defendant’s May 5, 2012 letter advised the Plaintiff as follows:

                        You may notify RCS in writing within thirty days of receipt
               of this letter that the debt or any portion of the debt is disputed. If
               no notice is received by RCS within the 30 day period, it will be
               assumed that the above information is accurate and the debt is
               valid. If/once written notice is received within the 30 day period,
               RCS will obtain verification of the debt or a copy of a judgment
               against you, the consumer. A copy of the verification of debt or
               judgment will be mailed to the mailing address on record for you
               along, with, if requested in writing, a statement that provides the
               name and address of the original creditor.

(Amend. Compl., Exh. A.)



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       The Plaintiff asserts that this passage violates the FCPA, specifically 15 U.S.C.

§§ 1692g(a), 1692e, 1692e(2) and 1692e(10). In this regard, the Plaintiff alleges that the letter

(1) “[s]tates that any dispute that the debtor elects to send is to be in writing, when a writing is

only necessary to obtain verification of the debt or the identification of the original creditor”; (2)

indicates that the Defendant needs to receive notice that the debt is being disputed within the 30

day period, when the Plaintiff is only required to send her notice within that period and is not

required to guarantee receipt; (3) “[s]tates that ‘[i]f no notice is received by RCS within the 30

day period, it will be assumed that . . . the debt it is valid,” without limitation, when only RCS

and its principal may assume that it is valid”; and (4) “[s]tates that all information set forth in the

letter concerning the debt will be assumed to be valid, including information which the debtor

knows nothing about and can know nothing about, such as whether RCS is holding any

‘unapplied funds’ and whether there is a negative ‘escrow balance,’” even though there is no

authorization for this found in 15 U.S.C. § 1692g. (Amend. Compl, ¶ 12.)

B. Procedural History

       As mentioned above, on July 31, 2012, the Plaintiff commenced this action by filing the

Original Complaint in the Eastern District of New York seeking “(1) [a] declaration that [the

D]efendant’s letter violates the FDCPA; (2) [s]tatuory damages; [and] (3) [a]ttorney’s fees,

litigation expenses and costs of suit[.]” (Orig. Compl., “WHEREFORE” ¶.) The Original

Complaint asserted only one cause of action for violations of the FDCPA and also sought to

bring this action on behalf of a class, pursuant to Fed. R. Civ. P. 23(a) and 23(b)(3). The sole

allegation included in the Original Complaint is that the Defendant’s May 5, 2012 letter “fail[ed]

to comply with [] 15 U.S.C. § 1692g(a)(3) because it state[d] that the notice must be in writing.”

(Orig. Compl., ¶ 10.)




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        On October 23, 2012, pursuant to Fed. R. Civ. P. 12(b)(6), the Defendant moved to

dismiss the Plaintiff’s Original Complaint for failure to state a claim. The Defendant argues that

its correspondence and communication with the Plaintiff regarding the Plaintiff’s debt complied

with all state and federal laws, including the FDCPA.

        On November 6, 2012, the Plaintiff filed her opposition to the Defendant’s motion to

dismiss. In addition, also on November 6, 2012 and pursuant to Fed. R. Civ. P. 15(a)(1), the

Plaintiff filed an Amended Complaint. In the Amended Complaint, the Plaintiff asserted the

same cause of action as the Original Complaint, still sought to bring the action on behalf of a

class and requested the same relief. However, the Plaintiff provided additional factual

allegations in support of her lawsuit, as set forth above.

        On November 14, 2012, the Defendant filed its reply in further support of its motion to

dismiss. In its reply, the Defendant contends that the Plaintiff’s Amended Complaint is not

materially different than the Original Complaint and should be dismissed.

        The Court notes that the Defendant uses footnotes in its memorandum of law and reply

memorandum, which is a violation of this Court’s Individual Rule II.A. Notwithstanding this

violation, the Court will consider the Defendant’s papers while rendering its decision. However,

the Court advises defense counsel that any future filings that contain footnotes will not be

considered by this Court.

                                       II.     DISCUSSION

A. Legal Standard Under Fed. R. Civ. P. 12(b)(6)

        It is well-established that a complaint should be dismissed under Fed. R. Civ. P. 12(b)(6)

only if it does not contain enough allegations of fact to state a claim for relief that is “plausible

on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 1974, 167 L. Ed.




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2d 929 (2007). Indeed, the issue on a motion to dismiss is “not whether a plaintiff will

ultimately prevail but whether the claimant is entitled to offer evidence to support the claims.”

Todd v. Exxon Corp., 275 F.3d 191, 198 (2d Cir. 2001) (quoting Scheuer v. Rhodes, 416 U.S.

232, 236, 94 S. Ct. 1683, 40 L. Ed. 2d 90 (1974)). “‘Determining whether a complaint states a

plausible claim for relief will . . . be a context-specific task that requires the reviewing court to

draw on its judicial experience and common sense.’” Harris v. Mills, 572 F.3d 66, 72 (2d Cir.

2009) (quoting Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949–50, 173 L. Ed. 2d 868 (2009)).

         In deciding a motion to dismiss, the Court is required to accept the material facts alleged

in the complaint as true and draw all reasonable inferences in the Plaintiff’s favor. Ashcroft, 129

S. Ct. 1937 at 1949–50; Zinermon v. Burch, 494 U.S. 113, 118, 110 S. Ct. 975, 979, 108 L. Ed.

2d 100 (1990); In re NYSE Specialists Secs. Litig., 503 F.3d 89, 91 (2d Cir. 2007). However,

“although ‘a court must accept as true all of the allegations contained in a complaint,’ that ‘tenet’

‘is inapplicable to legal conclusions,’ and ‘[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.’” Harris, 572 F.3d at 72

(quoting Iqbal, 129 S. Ct. at 1949). As such, “[w]hen there are well-pleaded factual allegations,

a court should assume their veracity and . . . determine whether they plausibly give rise to an

entitlement of relief.” Iqbal, 129 S. Ct. at 1950. Only if this Court is satisfied that “the

complaint cannot state any set of facts that would entitle the plaintiff to relief will it grant

dismissal pursuant to Rule 12(b)(6).” Hertz Corp. v. City of N.Y., 1 F.3d 121, 125 (2d Cir.

1993).

         In addition, in its analysis, the Court may refer “to documents attached to the complaint

as an exhibit or incorporated in it by reference, to matters of which judicial notice may be taken,

or to documents either in plaintiffs’ possession or of which plaintiffs had knowledge and relied




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on in bringing suit.” Brass v. Am. Film Tech., Inc., 987 F.2d 142, 150 (2d Cir. 1993); see also

Karmilowicz v. Hartford Fin. Servs. Group, No. 11-3284-cv, 2012 U.S. App. LEXIS 18394, at

*5–6 (2d Cir. Aug. 30, 2012). Moreover, relevant here, “[w]hen a plaintiff amends its complaint

while a motion to dismiss is pending, . . . the ‘court then has a variety of ways in which it may

deal with the pending motion to dismiss, from denying the motion as moot to considering the

merits of the motion in light of the amended complaint.” Roller Bearing Co. of Am., Inc. v. Am.

Software, Inc., 570 F. Supp. 2d 376, 384 (D. Conn. 2008) (citation and internal quotation marks

and altercations omitted). In this case, the Court will consider the merits of the Defendant’s

motion in light of the Plaintiff’s Amended Complaint.

B. Legal Standard Under the FDCPA

       “The FDCPA creates a general prohibition against the use of ‘false, deceptive, or

misleading representation or means in connection with the collection of any debt.’” Miller v.

Wolpoff & Abramson, L.L.P., 321 F.3d 292, 300 (2d Cir. 2003) (citing 15 U.S.C. § 1692e). In

this regard, 15 U.S.C. § 1692e(2), in relevant part, prohibits a debt collector from falsely

representing “the character, amount, or legal status of any debt[.]” 15 U.S.C. § 1692e(2)(A).

Also, § 1692e(10) proscribes a debt collector from “[t]he use of any false representation or

deceptive means to collect or attempt to collect any debt or to obtain information concerning a

consumer.”

       Further, “15 U.S.C. § 1692g requires debt collectors to include a ‘validation notice’ either

in the initial communication with a consumer in connection with the collection of a debt or

within five days of that initial communication, which must inform the consumer that he or she

has certain rights, including the rights to make a written request for verification of the debt and to




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dispute the validity of debt.” Miller, 321 F.3d at 309 (citing 15 U.S.C. § 1692g(a)). In

particular, § 1692g(a) requires that the validation notice include:

                (1) the amount of the debt;

                (2) the name of the creditor to whom the debt is owed;

                (3) a statement that unless the consumer, within thirty days after
                receipt of the notice, disputes the validity of the debt, or any
                portion thereof, the debt will be assumed to be valid by the debt
                collector;

                (4) a statement that if the consumer notifies the debt collector in
                writing within the thirty-day period that the debt, or any portion
                thereof, is disputed, the debt collector will obtain verification of
                the debt or a copy of a judgment against the consumer and a copy
                of such verification of judgment will be mailed to the consumer by
                the debt collector; and

                (5) a statement that, upon the consumer’s written request within
                the thirty-day period, the debt collector will provide the consumer
                with the name and address of the original creditor, if different from
                the current creditor.

See Nero v. Law Office of Sam Streeter, P.L.L.C., 655 F. Supp. 2d 200, 205 (E.D.N.Y. 2009).

“[U]nless a debt collector conveys this statutorily-required information, it violates the

[FDCPA].” Hecht v. Green Tree Servicing, LLC, Civil No. 3:12cv498(JBA), 2013 U.S. Dist.

LEXIS 6056, at *5 (D. Conn. Jan. 15, 2013). Also, of relevance in the instant case, § 1692g(c)

states that “the failure of a consumer to dispute the validity of a debt under this section may not

be construed by any court as an admission of liability by the consumer.”

       The Second Circuit has provided the following guidance for analyzing alleged violations

of § 1692(g):

                        “When determining whether § 1692g has been violated, an
                objective standard, measured by how the ‘least sophisticated
                consumer’ would interpret the notice received from the debt
                collector, is applied.” Russell v. Equifax A.R.S., 74 F.3d 30, 34
                (2d Cir. 1996) (citing Clomon [v. Jackson], 988 F.2d [1314, 1318



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               (2d Cir. 1993)] (holding that the least sophisticated consumer
               standard applies to whether § 1692e has been violated)). “When a
               notice contains language that ‘overshadows or contradicts’ other
               language informing a consumer of her rights, it violates the
               [FDCPA].” Id. (citing Graziano v. Harrison, 950 F.2d 107, 111 (3d
               Cir. 1991)). “A debt collection notice is overshadowing or
               contradictory if it fails to convey the validation information clearly
               and effectively and thereby makes the least sophisticated consumer
               uncertain as to her rights.” Savino v. Computer Credit, Inc., 164
               F.3d 81, 85 (2d Cir. 1998).

Miller, 321 F.3d at 300. See also, Hecht, 2013 U.S. Dist. LEXIS at *5 (“‘[E]ven if a debt

collector conveys the required information, the collector nonetheless violates the [FDCPA] if it

conveys that information in a confusing or contradictory fashion so as to cloud the required

message with uncertainty.’”) (citing DeSantis v. Computer Credit, Inc., 269 F.3d 159, 161 (2d

Cir. 2001)).

       Of importance, “the plaintiff’s actions in response to [a] collection letter are not

determinative of the question of whether there has been a violation of the FDCPA. Rather, the

issue is an objective one: namely, whether the language of the letter would mislead the least

sophisticated consumer.” Wyler v. Computer Credit, Inc., 04 CV 2762 (CLP), 2006 U.S. Dist.

LEXIS 57766, at *34 (E.D.N.Y. Mar. 3, 2006). “Although courts are divided on whether breach

of the least sophisticated consumer standard is a question of law or fact, the trend in the Second

Circuit is to treat this question as a matter of law that can be resolved on a motion to dismiss.”

Rozier v. Fin. Recovery Sys., 10-CV-3273 (DLI) (JO), 2011 U.S. Dist. LEXIS 61307, at *7

(E.D.N.Y. June 7, 2011) (quoting Beauchamp v. Fin. Recovery Services, Inc., 10 Civ. 4864

(SAS), 2011 U.S. Dist. LEXIS 25512, at *5 n.18 (S.D.N.Y. Mar. 14, 2011)).

       In addition, courts have found that “the FDCPA is a strict liability statute and, therefore,

does not require a showing of intentional conduct on the part of a debt collector.” Fasten v.

Zager, 49 F. Supp. 2d 144, 148 (E.D.N.Y. 1999); see also Moore v. Diversified Collection



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Services, Inc., 843 F. Supp. 2d 280, 284 (E.D.N.Y. 2012). Instead, the court need only find

proof of a single violation of the FDCPA to establish civil liability against the debt collector.

See Bentley v. Great Lakes Collection Bureau, 6 F.3d 60 (2d Cir. 1993); Fasten, 49 F. Supp. 2d

at 148; Mateer v. Ross, Suchoff, Egert, Hankin, Maidenbaum & Mazel, P.C., 96 Civ. 1756

(LAP), 1997 U.S. Dist. LEXIS 4517, at *10 (S.D.N.Y. Apr. 10, 1997); Woolfolk v. Van Ru

Credit Corp., 783 F. Supp. 724 (D. Conn. 1990). However, “[a] debt collector may not be held

liable . . . if the debt collector shows by a preponderance of evidence that the violation was not

intentional and resulted from a bona fide error notwithstanding the maintenance of procedures

reasonably adapted to avoid any such error.” 15 U.S.C § 1692k(c). A debt collector who is

found to have violated the FDCPA is liable for (1) actual damages; (2) statutory damages, not to

exceed $1,000; and (3) the costs of the action, including reasonable attorneys’ fees. 15 U.S.C.

§ 1692k(a); see also Nero, 655 F. Supp. at 209–10.

C. As to the Defendant’s Motion to Dismiss

        As discussed above, according to the Plaintiff, the Defendant’s May 5, 2012 letter

violated the FDCPA because (1) it suggests that the Plaintiff was required to dispute the debt in

writing, even though § 1692g(a)(3) does not impose a writing requirement; (2) it indicates that

the Defendant had to receive the Plaintiff’s notice of dispute within 30 days, even though a

consumer is only required to send her notice of dispute to the debt collector within 30 days; (3) it

implies that the consequences for not disputing the debt is that the debt will generally be

assumed to be valid, even though § 1692g(3) only states that the debt collector may assume the

debt is valid; and (4) it states that the Plaintiff’s failure to respond will result in the assumption

that all information in the letter, even information the Plaintiff would know nothing about, is

valid, when there is no basis for this under § 1692g.




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       However, the Defendant maintains that its motion to dismiss should be granted, because

the Plaintiff’s Amended Complaint (1) incorrectly alleges that the validation notice requires and

limits the Plaintiff’s notice of dispute to only written form; (2) wrongly suggests that the

validation notice indicated that the debt will be adjudged by any Court, government body or any

other entity as absolutely valid; and (3) ignores the fact that the Plaintiff understood the intent of

the validation notice and was not misled.

       As an initial matter, the Court rejects the Defendant’s third argument, because it relies on

evidence outside the pleadings. Indeed, in making this argument, the Defendant presents

evidence demonstrating that the Plaintiff corresponded with the Defendant concerning her debt

following the receipt of the May 5, 2012 validation notice. However, such evidence is

inappropriate for consideration by this Court on a 12(b)(6) motion to dismiss. See DiFolco v.

MSNBC Cable L.L.C., 622 F.3d 104, 113 (2d Cir. 2010) (“In ruling on a motion pursuant to Fed.

R. Civ. P. 12(b)(6), the duty of a court is merely to assess the legal feasibility of the complaint,

not to assay the weight of the evidence which might be offered in support thereof.”) (citation and

internal question marks omitted); Hahn v. Rocky Mt. Express Corp., No. 11 Civ. 8512

(LTS)(GWG), 2012 U.S. Dist. LEXIS 100466, at *4–5 (S.D.N.Y. June 16, 2012) (“When

deciding a motion to dismiss, the Court may consider any written instrument attached to the

complaint, statements or documents incorporated into the complaint by reference and documents

possessed by or known to the plaintiff and upon which it relied in bringing the suit. Evidence

outside these parameters may be introduced in connection with a motion for summary judgment;

it cannot, however, be considered on review of a 12(b)(6) motion.”) (citation and internal

quotation marks and alterations omitted).




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       In any event, even if the Court considered the Defendant’s evidence, the Defendant’s

position is without merit. This is because “it is not necessary for a plaintiff to show that she

herself was confused by the communication she received; it is sufficient for a plaintiff to

demonstrate that the least sophisticated consumer would be confused.” Rozier, 2011 U.S. Dist.

LEXIS at *6–7 (E.D.N.Y. June 7, 2011) (citing Jacobson v. Healthcare Fin. Services, Inc., 516

F.3d 85, 91 (2d Cir. 2008)). As such, this Court need only evaluate the exact language the

Defendant used in the validation notice under the least sophisticated consumer standard in

coming to its conclusion.

       With respect to the Plaintiff’s complaint that the validation letter improperly suggested

that that the Plaintiff was required to dispute the debt in writing, the Court believes that this

claim raises a more complicated legal issue. In this regard, 15 U.S.C. § 1692g(a)(3) “omits any

mention of a requirement that the debt be disputed in writing.” Wyler, 2006 U.S. Dist. LEXIS at

*21. Moreover, it appears “the Second Circuit has not addressed . . . whether consumers have a

right to dispute their debts other than in writing.” Id. at *21–22. Nevertheless, many “district

courts within the Second Circuit that have considered the issue concluded that subsection (a)(3)

does not require a consumer to write to the collection agency in order to dispute the validity of

the debt.” Vega v. Credit Bureau Enters., Civil Action No. 02-CV-1550 (DGT) (KAM), 2005

U.S. Dist. LEXIS 4927, at *24 (E.D.N.Y. Mar. 29, 2005) (collecting cases). However, in a more

recent decision, a district court found that “this Circuit requires that Sections 1692g(a) (3) and

1692g(a) (4) be read together in constituting a writing requirement” for those consumers who

wish to dispute a debt. Hooks v. Forman Holt Eliades & Ravin LLC, 11 Civ. 2767 (LAP), 2012

U.S. Dist. LEXIS 115089, at *12 (S.D.N.Y. Aug. 13, 2012) (citation and internal quotation

marks omitted).




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       In this case, the Court is persuaded by the reasoning of those courts within the Second

Circuit that have held that § 1692g(3) does not require a writing requirement. As the district

court in Ong v. American Collections Enter., Inc., 98-CV-5117 (JG), 1999 U.S. Dist. LEXIS 409

(E.D.N.Y. Jan. 15, 1999), astutely explained:

                        Subsection (a)(3) of § 1692g . . . does not say that the
               consumer must dispute the debt in writing. On the other hand,
               subsections (a)(4) and (a)(5) both require that the debt collector
               notify the consumer that if he or she disputes the debt or makes a
               request “in writing,” then the debt collector must provide the
               consumer with certain information regarding the debt its seeks to
               collect. Moreover, § 1692g(b) states that if the consumer notifies
               the debt collector “in writing” within thirty days that he or she
               disputes the debt or a portion thereof, then the collector must cease
               collection activity until it obtains verification of the debt.
                        The language and structure of these subsections indicate
               that the omission of the “in writing” requirement in subsection
               (a)(3) was intentional. Congress demonstrated (in the subsections
               immediately following subsection (a)(3)) its ability to impose a
               writing requirement on debtors; its failure to do so in subsection
               (a)(3) is thus less likely to be the result of inadvertence.

Id. at *5–6 (citations omitted); see also Register v. Reiner, Reiner & Bendett, PC, 488 F. Supp.

2d 143, 147 (D. Conn. 2007) (“Congress acted intentionally when it did not limit the type of

dispute contemplated by section 1692g(a)(3) to a written notice, just as Congress acted

intentionally when it did impose written requirements in sections (a)(4), (a)(5), and 1692g(b).”)

(citation omitted).

       Thus, this Court holds that § 1692g(3) does “permit disputes to be raised otherwise than

in writing.” In re Risk Mgmt. Alternatives, Inc., Fair Debt Collection Practices Act Litig., 208

F.R.D. 493, 502 (S.D.N.Y. 2002) (hereinafter “In re Risk Mgmt.”). As a result, “a collection

letter must be crafted in such a way that the least sophisticated consumer would understand that

(1) she could raise a dispute in many ways, but (2) she could get verification of the debt and the

name and address of the original creditor only if she disputed it in writing.” Id.



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        Here, the parties disagree as to whether the validation notice would clearly convey to the

least sophisticated consumer that the debt could be disputed in many ways. Specifically, the

Defendant contends that the validation notice permits an oral dispute, because the validation

notice uses the word “may” in the sentence “You may notify RCS in writing within thirty days of

receipt of this letter that the debt or any portion of the debt is disputed.” (Amend Compl., Exh.

A.) However, the Court is disinclined to agree with the Defendant’s position. In the context of

the sentence at issue, the word “may” might suggest to the least sophisticated consumer that she

may choose to dispute the debt or not dispute it, but if she does choose to dispute the debt, she

must do so in writing. Thus, even though the first sentence of the validation notice’s disputed

passage says “may,” when read from the viewpoint of the least sophisticated consumer, it is

feasible that the Defendant’s validation notice may confuse a consumer into wrongly believing

that the only way to dispute the validity of the debt is in writing.

        Furthermore, this Court cannot look at each sentence of the validation notice in isolation,

but rather, must consider the disputed passage in its entirety. In this regard, as mentioned above,

the disputed passage at issue states in full:

                You may notify RCS in writing within thirty days of receipt of this
                letter that the debt or any portion of the debt is disputed. If no
                notice is received by RCS within the 30 day period, it will be
                assumed that the above information is accurate and the debt is
                valid.

(Amend. Compl., Exh. A.) Despite the Defendant’s argument to the contrary, it is possible that

the least sophisticated consumer, when reading these sentences together, could be misled into

thinking that the “notice” mentioned in the second sentence refers to the written notice that is

suggested by the phrase “may notify RCS in writing” found in the first sentence.




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       The court’s decision in In re Risk Mgmt., 208 F.R.D. at 493, is particularly instructive

here. In that case, the court was confronted with the following language in a validation notice:

               Federal law gives you thirty (30) days after you receive this letter
               to dispute the validity of the debt or any part of it. If you don’t
               dispute it within that period, we will assume that it is valid. If you
               do dispute it—by notifying us in writing to that effect—we will, as
               required by law, obtain and mail to you proof of the debt. And, if
               within the same period, you request in writing the name and
               address of the original creditor to whom the debt was owed, we
               will provide you with that information too.

Id. at 498. According to the In re Risk Mgmt. court, while “[t]here [wa]s no mention of a writing

requirement in the [first] two sentences[,] [t]he following sentences . . . contain[ed] a writing

requirement, and it [wa]s this juxtaposition of sentences without a clear distinction between the

different options that makes th[e] letter possibly violative of the FDCPA.” Id. at 502; see also

Nasca v. GC Servs. Ltd. P’shp, 01 CIV. 10127 (DLC), 2002 U.S. Dist. LEXIS 16992, at *13

(S.D.N.Y. Sept. 12, 2002) (“The juxtaposition of two inconsistent statements renders the notice

invalid under § 1692g.”) (quoting Savino, 164 F.3d at 85). As such, the court “conclude[d] that a

jury must decide whether the least sophisticated consumer could believe that any challenge to his

debt had to be in writing,” and reasoned that

               [t]he least sophisticated consumer confused by defendant’s letter
               might choose not to notify the debt collector that she disputes a
               debt’s validity because she cannot or will not dispute the debt in
               writing. “The defendant’s letter could therefore hamper a
               consumer’s efforts to communicate the fact that she disputes a
               debt, thereby depriving her of the statutory protection afforded
               consumers who notify a collector that the validity of a debt is
               contested.”

Id. (quoting Castro v. A.R.S National Services, Inc., 99 Civ. 4596 (HB), 2000 U.S. Dist. LEXIS

2618, 99 Civ. 4596, at *11 (S.D.N.Y. Mar. 8, 2000)).




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       This Court finds the court’s reasoning in In re Risk Mgmt. to be applicable to the present

action. Indeed, in this case, it is possible that the disputed passage, when viewed as a whole,

could confuse the least sophisticated consumer into believing that a written notice is the only

permissible way to dispute the debt. Accordingly, assuming the factual allegations in the

Amended Complaint are true, the Defendant’s May 5, 2012 validation notice would violate the

FDCPA if it is determined that “it conveys [the statutorily required] information in a confusing

or contradictory fashion so as to cloud the required message with uncertainty.” Nasca, 2002 U.S.

Dist. LEXIS at *13 (quoting DeSantis, 269 F.3d at 161). Indeed, as highlighted earlier, “[w]hen

a notice contains language that overshadows or contradicts other language informing a consumer

of her rights, it violates the [FDCPA].” Savino, 164 F.3d at 85 (citation omitted).

       The Court now turns to the Plaintiff’s claim that the validation notice also violated

§ 1692g(3) by stating that “If no notice is received by RCS within the 30 day period, it will be

assumed that the above information is accurate and the debt is valid,” rather than specifically

stating that the Defendant will assume the debt is valid. In response, the Defendant asserts that

its validation notice was proper because nowhere did it imply that the debt will be adjudged by

any Court, government body or any other entity as absolutely valid.

       However, the Court finds the Defendant’s argument to be unavailing. The FDCPA

requires that a validation notice specifically include “a statement that unless the consumer,

within thirty days after receipt of the notice, disputes the validity of the debt, or any portion

thereof, the debt will be assumed to be valid by the debt collector.” 15 U.S.C. § 1692g(a)(3)

(emphasis added). Therefore, as other courts have held, “the absence of the term ‘by the debt

collector,’ or its equivalent here, is a sufficient allegation [of an FDCPA violation] to survive the

standard for a motion to dismiss.” Philip v. Sardo & Batista, P.C., Civil Action No. 11-4773




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(SRC), 2011 U.S. Dist. LEXIS 130267, at *12 n. 1, 13 (D.N.J. Nov. 10, 2011) (analyzing the

statement “Should we not receive your written dispute, it shall be assumed this debt is valid”);

see also Galuska v. Collectors Training Inst. of Illinois, No. 07-2044, 2008 U.S. Dist. LEXIS

39508 at *17–18 (M.D. Pa. May 13, 2008) (holding that a “failure to include the term ‘by the

debt collector’ may be deceptive to the least sophisticated debtor when considering the whole

document validation notice” where the validation notice stated that “Unless you notify this office

within thirty (30) days after the receipt of this notice that you dispute the validity of the debt, or

any portion thereof, this debt will be assumed to be valid”) (emphasis removed).

        Finally, it appears that the Defendant has failed to address the Plaintiff’s claims that the

validation notice violated the FDCPA because it improperly stated that (1) the Defendant had to

receive the Plaintiff’s notice of dispute within 30 days and (2) failure by the Plaintiff to dispute

the debt within the 30 day period would result in all information in the validation notice being

deemed accurate, even information that the Plaintiff knew nothing about. With respect to the

second claim, the Court finds that there is nothing in the FDCPA that allows a debt collector to

include such a broad and sweeping statement; rather, the debt collector must include a statement

that the failure to respond shall mean that the debt, and nothing else, will be assumed to be valid

by the debt collector. 15 U.S.C § 1692g(3).

        As to the first claim, to reiterate, the validation notice at issue here states “If no notice is

received by RCS within the 30 day period, it will be assumed that the above information is

accurate and the debt is valid.” (Amend. Compl., Exh. A., emphasis added). However, 15

U.S.C. § 1692g(3) does not require that a debt collector receive a consumer’s notice of dispute

within thirty days. Indeed, the Second Circuit has held that “the recipient of a debt collection

letter covered by the FDCPA validly invokes the right to have the debt verified whenever she




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mails a notice of dispute within thirty days of receiving a communication from the debt

collector.” Jacobson, 516 F.3d at 95 (emphasis added). As such, “[b]y requiring the notice to be

received by the debt collector within thirty days, the [validation notice in this case] shortens the

period during which the recipient may seek verification of the debt.” Id. Therefore, assuming

the factual allegations in the Amended Complaint are true, the validation notice presented in this

action “violates the FDCPA, because it contradicts [the Plaintiff’s] rights under § 1692g.” Id.

       Accordingly, viewing the Plaintiff’s Amended Complaint in light most favorable to the

Plaintiff, the Court finds that the Plaintiff has stated a claim for relief under the FDCPA that is

plausible on its face. In this regard, the Amended Complaint highlights various portions of the

Defendant’s collection letter that may be in violation of the FDCPA. Therefore, the Defendant’s

motion to dismiss is denied.

                                      III.    CONCLUSION

       For the foregoing reasons, it is hereby:

       ORDERED the Defendant’s motion to dismiss the Amended Complaint under Federal

Rule of Civil Procedure 12(b)(6) is hereby denied.

SO ORDERED.
Dated: Central Islip, New York
April 29, 2013

                                                              ____/s/ Arthur D. Spatt______
                                                                  ARTHUR D. SPATT
                                                               United States District Judge




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